                         United States District Court
                       Western District of North Carolina
                              Statesville Division

     Ricardo Cervantes-Sanchez,                      JUDGMENT IN CASE

            Petitioner(s),                             5:20-cv-00044-KDB
                                                    5:18-cr-00048-KDB-DSC
                 vs.

                USA,

           Respondent(s).



 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s May 20, 2020 Order.

                                               May 20, 2020




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